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  STACY MONIZ
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  Plaintiff, Pro Se

                      IN THE UNITED STATES DISTRICT COURT

                             FOR THE DISTRICT OF HAWAII

  STACY MONIZ                            )   CIVIL NO.: 14 CV 00465 DKW-RLP
                                         )
                Plaintiff,               )   FIRST STIPULATION TO EXTEND
                                         )   TIME FOR PLAINTIFF’S
     vs.                                 )   REPY TO DEFENDANTS’
                                         )   OPPOSITION TO PLAINTIFF’S
                                         )   MOTION TO REMAND
  DAVID J. LUJAN; ANNA B.                )
  LUJAN; INOKO LLC, a Hawaii             )
  limited liability company and DOE      )
  DEFENDANTS 1-20,                       )
                                         )
                Defendants.              )
                                         )

    FIRST STIPULATION TO EXTEND TIME FOR PLAINTIFF’S REPLY TO
    DEFENDANTS’ OPPOSITION TO PLAINTIFF’S MOTION TO REMAND

                IT IS HEREBY STIPULATED and agreed, by and between Plaintiff

  STACY MONIZ, pro se, and Defendants DAVID J. LUJAN. ANNA B. LUJAN,

  and INOKO LLC, through their attorney, pursuant to Rules 6.2 and 10.4 of the

  Local Rules of the United States District Court, as follows:

                1.     Plaintiff Stacy Moniz filed a Motion to Remand on January 8,

  2015.
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               2.     Defendants’ filed their Opposition on or about March 6, 2015.

               3.     Pursuant to Local Rule 7.2(d), the Court elected to decide

  Plaintiff’s Motion to Remand without a hearing.

               4.     Plaintiff, due to personal matters and scheduling conflicts,

  requires additional time to file his Reply.

               5.     Pursuant to Local Rule 7.4, Plaintiff’s Reply is currently due on

  March 20, 2015.

               6.     The parties agree to extend Plaintiff’s Reply to Defendants’

  Opposition to Plaintiff’s Motion to Remand by 7 days, with a due date on or before

  March 27, 2015.

               7.     There have been no previous extensions of time for the Reply.

        DATED: HONOLULU, HAWAII, March 17, 2015.

                                   /s/ STACY MONIZ
                                   STACY MONIZ
                                   Pro Se


        DATED: HONOLULU, HAWAII, March 17, 2015.

                                   /s/ Randall L.K.M. Rosenberg
                                   RANDALL L.K.M. ROSENBERG

                                   Attorney for Defendants
                                   DAVID J. LUJAN, ANNA B. LUJAN,
                                   and INOKO LLC




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  APPROVED AND SO ORDERED.

  DATED AT HONOLULU, HAWAII, MARCH 19, 2015.




                               _____________________________
                               Richard L. Puglisi
                               United States Magistrate Judge




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  STACY MONIZ v. DAVID J. LUJAN; ANNA B. LUJAN; INOKO LLC; CIVIL
  NO.: CV 14 00465 DKW-RLP; FIRST STIPULATION TO EXTEND TIME FOR
  PLAINTIFF’S REPLY TO DEFENDANTS’ OPPOSITION TO PLAINTIFF’S
  MOTION TO REMAND




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